                             Case 2:15-cv-00652-AB-E Document 4 Filed 01/28/15 Page 1 of 3 Page ID #:81



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                              NAPOLI BERN RIPKA & ASSOCIATES,
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                              ASSOCIATES, LLP;
                   9          NAPOLI BERN RIPKA SHKOLNIK, LLP;
                              NAPOLI BERN RIPKA, LLP;
                10            NAPOLI KAISER BERN, LLP;
                              MARC J. BERN; AND PAUL J. NAPOLI
                11
                12
                                                     UNITED STATES DISTRICT COURT
                13
                                                   CENTRAL DISTRICT OF CALIFORNIA
                14
                              MARC I. WILLICK, an individual,,        Case No. 2:15-cv-652
                15
                                             Plaintiff,
                16
                              v.                                      DEFENDANTS’ NOTICE OF
                17                                                    INTERESTED PARTIES
                18            NAPOLI BERN RIPKA &                     [C.D. CAL. LOCAL RULES, R. 7.1-1]
                              ASSOCIATES, LLP, a purported
                19            limited liability partnership; NAPOLI
                              BERN RIPKA SHKOLNIK &                   Removal Filed: January 28, 2015
                20            ASSOCIATES, LLP, a purported
                              limited liability partnership;
                21            NAPOLI BERN RIPKA SHKOLNIK,
                              LLP, a purported limited liability
                22            partnership; NAPOLI BERN RIPKA,
                              LLP, a purported limited liability
                23            partnership; NAPOLI KAISER BERN,
                              LLP, a purported limited liability
                24            partnership; MARC J. BERN, an
                              individual; PAUL J. NAPOLI, an
                25            individual; and DOES 1 through 50,
                26                           Defendants.
                27
                28
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                              INTERESTED PARTIES
                             Case 2:15-cv-00652-AB-E Document 4 Filed 01/28/15 Page 2 of 3 Page ID #:82



                   1          TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF MARC I.
                   2          WILLICK AND HIS ATTORNEY OF RECORD:
                   3                       The undersigned, counsel of record for Defendants NAPOLI BERN
                   4          RIPKA & ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK &
                   5          ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI BERN
                   6          RIPKA, LLP; NAPOLI KAISER BERN, LLP; MARC J. BERN; and PAUL J.
                   7          NAPOLI (“Defendants”) in the above-captioned matter, certifies that to Defendants’
                   8          knowledge there are no interested parties in the outcome of this case other than:
                   9                       1.    Plaintiff MARC I. WILLICK;
                10                         2.    Defendant NAPOLI BERN RIPKA & ASSOCIATES, LLP;
                11                         3.    Defendant NAPOLI BERN RIPKA SHKOLNIK &
                12                               ASSOCIATES, LLP;
                13                         4.    Defendant NAPOLI BERN RIPKA SHKOLNIK, LLP;
                14                         5.    Defendant NAPOLI BERN RIPKA, LLP;
                15                         6.    Defendant NAPOLI KAISER BERN, LLP;
                16                         7.    Defendant MARC J. BERN;
                17                         8.    Defendant PAUL J. NAPOLI;
                18                         9.    LITTLER MENDELSON, P.C.— Counsel for Defendants
                19                               NAPOLI BERN RIPKA & ASSOCIATES, LLP; NAPOLI BERN
                20                               RIPKA SHKOLNIK & ASSOCIATES, LLP; NAPOLI BERN
                21                               RIPKA SHKOLNIK, LLP; NAPOLI BERN RIPKA, LLP;
                22                               NAPOLI KAISER BERN, LLP; MARC J. BERN; and PAUL J.
                23                               NAPOLI;
                24                         10.   PIRCHER, NICHOLS & MEEKS — Counsel for Plaintiff.
                25
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                27
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                              INTERESTED PARTIES
                             Case 2:15-cv-00652-AB-E Document 4 Filed 01/28/15 Page 3 of 3 Page ID #:83



                   1                             These representations are made to enable the Court to evaluate possible
                   2          disqualification or recusal.
                   3          Dated: January 28, 2015
                   4
                   5                                                             /s/ Courtney Hobson
                                                                                 JUDY M. IRIYE
                   6                                                             COURTNEY S. HOBSON
                                                                                 LITTLER MENDELSON, P.C.
                   7                                                             Attorneys for Defendants NAPOLI
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                   9                                                             NAPOLI BERN RIPKA SHKOLNIK,
                                                                                 LLP; NAPOLI BERN RIPKA, LLP;
                10                                                               NAPOLI KAISER BERN, LLP;
                                                                                 MARC J. BERN; AND PAUL J.
                11                                                               NAPOLI
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